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                                  An additional 90-Day Stay of Discovery is hereby Granted. The
                                  parties' shall file a joint status letter with the court by April 23, 2021.
                                  The telephonic Initial Case Management Conference scheduled for
January 11, 2021                  Thursday, January 21, 2021 at 10:00 a.m. is hereby rescheduled to
VIA ECF                           Wednesday, April 28, 2021 at 11:00 a.m. Counsel for the parties are
                                  directed to call Judge Parker’s court conference line at the scheduled
The Honorable Katharine H. Parker time. Please dial (866) 434-5269, Access code: 4858267.
United States Magistrate Judge
Southern District of New York
500 Pearl Street, Courtroom 17D
New York, NY 10007
                                                                                    01/11/2021
Re:     Hines v. C.R. Bard, et al., Case No. 1:20-cv-07197-PGG-KHP
        Joint Letter Request for Additional Temporary Stay and Adjournment of Initial
        Case Management Conference Pending Settlement

Dear Judge Parker:

        We are counsel to defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.
(collectively, “Bard”). We write jointly with counsel for plaintiff Saladeem Hines to request an
adjournment of the initial case management conference scheduled for January 21, 2021, and an
additional 90-day stay of all proceedings. We respectfully refer the Court to our letter dated
October 19, 2020, for the background for of our request.

        Presently, the parties are continuing their ongoing negotiations toward resolving the case.
Indeed, since October, the parties have settled the majority of the approximate 575 Bard filter cases
handled by Mr. Hines’s attorneys. Accordingly, the parties respectfully request the Court enter a
stay of all activities for an additional 90 days and adjourn the conference on January 21, 2021. In
the event the parties reach settlement during this period, we will immediately advise the Court.

       Counsel for the parties are available at the Court’s convenience should the Court wish to
address these issues more specifically.

                                                              Respectfully submitted,
                                                              /s/ Marissa Banez
                                                              Marissa Banez
cc:     Eric Martin Przybysz, Esq. (via ECF)
        Steven Scott Schulte, Esq. (via ECF)
        Darren McDowell, Esq. (via ECF)
        Counsel for Plaintiff Saladeem Hine
